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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NUMBER: 9:11-cv-80552-KLR

  SHERON HARRIS,

        Plaintiff,

  vs.

  GEICO GENERAL INSURANCE COMPANY,

       Defendant.
  _______________________________________/

   REPLY AND MEMORANDUM OF LAW TO DEFENDANT’S RESPONSE
      IN OPPOSITION TO PLAINTIFF’S MOTION TO DISQUALIFY

        Plaintiff, SHERON HARRIS, by and through undersigned counsel, replies

  to Defendant’s Response in Opposition to Plaintiff’s Motion to Disqualify, and

  states as follows:

                            MEMORANDUM OF LAW

        The Defendant opposes the Plaintiff’s Amended Motion to Disqualify. First,

  the Defendant disagrees with the Plaintiff’s suggestion that this matter be referred

  to the Chief Judge of the Southern District (D.E. 164, at pp. 3-6). Defendant

  misunderstands that the Plaintiff cited to 28 U.S.C. 455(a) and §455(b) as bases for

  disqualification. As correctly explained in the Motion to Disqualify, if this Court

  does not voluntarily disqualify itself, the §455(b) basis for disqualification must

  already be referred to the Chief Judge (D.E. 156, at pp. 5-6). Plaintiff also directed
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  this Court to case law showing it is permissible to refer §455(a) motions to the

  Chief Judge (D.E. 156, at p. 6). Therefore, Plaintiff simply suggested that if this

  Court did not voluntarily disqualify itself, that the entire Motion to Disqualify be

  referred to the Chief Judge.

        On the merits, the Defendant has cited to the testimony it presented from

  Richard Adams (D.E. 164, at pp. 5-7). The Defendant quotes extensively from the

  testimony “regarding the general disfavor of the percutaneous discectomy [and] the

  disproportionate number of procedures performed by the group that treated the

  Plaintiff” (D.E. 164, at p. 6).

        The Defendant’s citation to the testimony and its commentary of this portion

  of the testimony shows a fundamental misunderstanding of the procedural posture

  of this case. More importantly, the Defendant’s citation and commentary lend

  further credence to why disqualification is warranted. This Court appeared to

  agree with the Defendant as if sitting as a fact-finder, rather than presiding over the

  post-verdict limited proceedings.

        The Defendant had its day in court before the fact-finder of jurors. The

  Defendant presented evidence, testimony and argument before the fact-finder. The

  Defendant’s evidence and arguments were rejected by the fact-finder. The

  Defendant does not get a do-over in the post-verdict proceedings, as to the

  evidence or role of a fact-finder.

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        The Defendant suggests that this Court is free to consider Mr. Adams’

  testimony and reach opinions regarding the medical procedures in question. The

  Plaintiff has never suggested that this Court could not reach opinions, and would

  never suggest as such to any judge presiding over a case.

        The issue is the comments expressed by this Court, and whether this Court’s

  impartiality may now be reasonably questioned. Deeming the medical procedures

  to be “junk” was the Defendant and Mr. Adams’ position, and it may be this

  Court’s feeling. But this Court’s mention of its opinion and using its phrase

  reasonably suggested to the Plaintiff that this Court might not fairly preside over

  the pending proceedings. It must be emphasized that in the pending proceedings,

  all evidence must be taken in the light most favorable to the Plaintiff, as the

  prevailing party.

        The Defendant’s views, Mr. Adams’ views, and this Court’s views of

  percutaneous disectomies is but one perspective that is outside the scope of the

  current procedural posture of this case. The Plaintiff presented testimony the

  medical procedure is not junk, and a jury of her peers sitting as a fact-finder

  agreed. Just as importantly, when this discussion arose at the hearing, it was

  Plaintiff’s counsel who emphasized the procedural posture of this case and how a

  one-sided view of the evidence could not occur. This Court’s pronouncement that

  there is no redeeming medical purpose with the medical procedures, in any

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  situation, reflects personal views that reasonably may call to question this Court’s

  impartiality of the legal issues before this Court.

        The Defendant also states that “this Court referred to the procedure in

  question as ‘junk’ came only after Plaintiff’s counsel invited the term. Plaintiff

  merely seeks to take a passing comment by this Court and spin it into something

  more sinister than it actually is” (D.E. 164, at p. 7).

        The Plaintiff did not “invite” this Court to offer its own opinions on the

  surgeries being “junk.” Plaintiff’s counsel had pointed out that the Defendant may

  believe it is junk, and Plaintiff was distinguishing the Defendant’s views from the

  procedural posture of this case – again, after a jury rejected Defendant’s views.

        There was no reason for this Court to express its own views. Any views of

  this Court were far outside the discussion at issue during the hearing: the

  procedural posture of this case, with the Defendant having lost this case before the

  jury. The fact this Court mentioned these views unnecessarily has not been spun

  by the Plaintiff; it is the mention of the views and the apparent misunderstanding

  this Court is not sitting as a fact-finder that raised so much concern to the Plaintiff.

        Additionally, the “junk surgery” reference should not be examined in

  isolation. The Defendant quotes, but declines to address the reference to

  extrajudicial sources by this Court. The Plaintiff had no way to anticipate that this

  Court, on its own accord, would refer to reading a newspaper article where the

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  surgery center had paid a large financial settlement for fraudulent claims. This

  article was not admitted into evidence or referenced in any post-verdict motions. It

  appeared to the Plaintiff, accordingly, that this Court’s global views of his and

  every one of these medical procedures were influenced by extrajudicial sources --

  outside the evidence in this case.

        The Plaintiff was also treated by a different physician, who was not

  mentioned in the article. There was no evidence of misconduct by the Plaintiff’s

  physician in this case, who was not sued in the lawsuit mentioned in this

  extrajudicial resource. This Court’s comments, lumping the Plaintiff’s physician

  into this “fraud,” demonstrates that this Court went outside the evidence in this

  case and believes the Plaintiff’s physician must have been motivated by money or

  some other reason than his patient’s health.

        The pending proceedings before this Court include an examination of the

  medical treatment by this physician, and this medical procedure. Even in the

  appropriate procedural posture (in the light most favorable to the Plaintiff), this

  Court’s impartiality reasonably is in question.

        Thus, for the reasons stated above and in more detail in the Amended

  Motion to Disqualify, Plaintiff respectfully requests that her motion be granted.

        I HEREBY CERTIFY that a true copy of the foregoing has been

  electronically filed with this Court via CM/ECF, and was furnished to JAMES K.

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  FL 33130, by email, on July 8, 2013.



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